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6                                   UNITED STATES DISTRICT CO URT                                               !
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7                                           DISTRICTOFNEVADA                                                    f
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8i LTNITED STATES OFAMERICA,                            )                                                       I
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 91'                           Plaintiff,               )                                                       I
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10 '               v.                                   )        2:10-CRQ 9ô-'RtH-P rlLt                        .
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11: CAM ERON UDY,                                       )
                                                        )                                                       !
12                             Defendant.               )                                                       ;
13                                          O R DER O F FO RFEITU R E                                           I
14                 On D ecem ber l,2010,defendant CA M ERON U D Y pled guilty to a One Count Crim inal )
                                                                                                       '
151 Information charging him with Conspiracy to Comm itBank Fraud in violation ofTitle 18,United l

l6. StatesC()de,Sections1344 and 1349 and agreed totheforfeiture ofproperty setforth intheForfeiture
17'' A llegations in the Crim inallndictm ent.
l8                 ThisCourtfindsthatCAM ERON UDY shallpayan inpersonam crim inalforfeiturem oney i

19 judgm entof$100,000.00inUnitedStatesCurrencytotheUnited StatesofAmerica.pursuanttoFed. .
201 R Crim P.32.2(b)(1)and(2),
             .     .
                             .Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,United i
21' StatesCode,Section 2461(c); Title 18,United StatesCode,Section 982(a)(2)(A);and Title21,
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22 UnitedStatesCode,Section853(p).                                                                              I
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    4I              DATED this# dayofDecember,2010                                                  I
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